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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   NATIONAL ASSOCIATION OF CHAIN                    Case No. 2:21-cv-00576
     DRUG STORES; NATIONAL
10   COMMUNITY PHARMACISTS                            COMPLAINT
     ASSOCIATION, and the WASHINGTON
11   STATE PHARMACY ASSOCIATION,
12                     Plaintiffs,
13   v.
14   XAVIER BECERRA, in his official capacity
     as Secretary of United States Department
15   of Health and Human Services, and
     ELIZABETH RICHTER, in her official
16   capacity as Acting Administrator for the
     Centers for Medicare & Medicaid Services,
17
                       Defendants.
18

19          Plaintiffs, the National Association of Chain Drug Stores, the National Community

20   Pharmacists Association, and the Washington State Pharmacy Association, allege the

21   following for their Complaint against Xavier Becerra, Secretary of United States Department

22   of Health and Human Services, and Elizabeth Richter, Acting Administrator for the Centers

23   for Medicare & Medicaid Services, both named in their official capacities:

24                                   I.   INTRODUCTION
25          1.      Washington’s Medicaid agency (the “State”) does not adequately reimburse

26   pharmacies for the health care services rendered to Medicaid beneficiaries. The State
                                                                         SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 1                                       Attorneys at Law
                                                                             1420 5th Avenue, Suite 3400
                                                                               Seattle, WA 98101-4010
                                                                              Telephone: 206-622-1711
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 1   reimburses its pharmacies serving Medicaid beneficiaries at the lowest rate in the country. Its
 2   rate is less than one-half the rates paid by all neighboring states. These low rates have been
 3   in force and have actually decreased over the past sixteen years.
 4           2.      In 2016, Centers for Medicare & Medicaid Services (“CMS”) promulgated a
 5   new rule that required all States to reassess their reimbursement rates and take into account
 6   the actual costs that pharmacies incur in serving Medicaid beneficiaries. State had to provide
 7   certain adequate and reliable data to support any change of its rate to ensure that these costs
 8   were adequately covered.
 9           3.      In response to that rule, the State insisted that its low rates remained
10   appropriate even though it never conducted a cost-of-dispensing study or otherwise
11   considered adequate and reliable data to support that conclusion—notwithstanding the fact
12   that such studies were performed or data was provided by nearly every other state. The State
13   then submitted its unchanged rate to CMS for federal approval.
14           4.      Over the past several years—from 2017 through the end of 2020—CMS has
15   taken the consistent position that the State’s reimbursement rate violated federal law.
16           5.      In September of 2018, CMS formally disapproved the State’s formal rate
17   proposal—known as a “State Plan Amendment”—because the State calculated its
18   reimbursement rates unlawfully to keep them at an artificially low level. Consistent with
19   CMS’s longstanding position, and following an administrative evidentiary hearing, on July
20   31, 2020, a CMS Administrative Law Judge (“ALJ”) recommended that the Secretary of
21   United States Department of Health and Human Services (“HHS”) uphold the denial of the
22   State Plan Amendment 17-0002 (the “SPA”).
23           6.      Despite an administrative record containing none of the necessary cost data to
24   substantiate the below-cost rates, the Secretary (acting through the former CMS
25   Administrator) instead did an about-face. The Secretary ultimately rejected the agency’s
26   prior statements, guidance, specific regulations, and its own ALJ’s recommended decision.
                                                                           SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 2                                         Attorneys at Law
                                                                                     1420 5th Avenue, Suite 3400
                                                                                       Seattle, WA 98101-4010
                                                                                      Telephone: 206-622-1711
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 1   The Secretary’s wholesale rejection of CMS’s prior positions came in the form of a one-
 2   page, summary decision signed the day before Inauguration Day and which constituted one
 3   of the CMS Administrator’s last official acts in office before resigning.
 4            7.     The Secretary’s conduct 1 was arbitrary and capricious because it completely
 5   ignored the years of prior and consistent agency communications that the State’s
 6   reimbursement methodology violated federal law because it did not fulfill the required
 7   standards. Moreover, the final administrative decision also wholly ignored the well-reasoned
 8   recommended decision by the CMS ALJ who recommended that the State Plan Amendment
 9   be denied. The decision also violates CMS’s own statutes and regulations governing the type
10   of data needed to support an appropriate pharmacy reimbursement rate methodology.
11            8.     The Plaintiffs here, all associations whose members include Washington State
12   pharmacies that serve Medicaid beneficiaries, file this complaint under the Administrative
13   Procedure Act to seek judicial review of the Secretary’s final administrative decision.
14   Plaintiffs request that the Court reverse the Secretary’s final administrative decision and
15   remand the matter back to the agency directing the Secretary to adopt the ALJ’s decision to
16   affirm denial of the SPA. In the alternative, Plaintiffs request the Court reverse the final
17   administrative decision, remand the matter back to the agency directing the Secretary to
18   again review the administrative record and the applicable law for reconsideration of a final
19   determination on the SPA consistent with the Court’s Order.
20                                        II.     PARTIES
21            9.     Plaintiff, National Association of Chain Drug Stores (“NACDS”), represents
22   traditional drug stores, supermarkets, and mass merchants with pharmacies, and supplier
23

24   1
      Plaintiffs recognize that neither the current named Secretary nor the current CMS Administrator
25   presently in office were involved in the underlying final administrative action. However, the current
     officials are named in their official capacity only consistent with the requirements of the
26   Administrative Procedure Act.
                                                                                SCHWABE, WILLIAMSON & WYATT, P.C.
         COMPLAINT: CASE NO. 2:21-cv-00576 - 3                                           Attorneys at Law
                                                                                    1420 5th Avenue, Suite 3400
                                                                                      Seattle, WA 98101-4010
                                                                                     Telephone: 206-622-1711
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 1   partners. NACDS is headquartered in Alexandria, Virginia. NACDS includes over 15
 2   member-companies in Washington State operating over 960 pharmacies—many of which
 3   participate in Washington’s Medicaid program.
 4           10.     National Community Pharmacists Association (“NCPA”) is a non-profit based
 5   in Alexandria, Virginia. NCPA represents the interests of the owners, managers, employees,
 6   and patients of 21,000 independent community pharmacies across the United States. These
 7   pharmacies and their pharmacists are rooted in the communities that they serve and pride
 8   themselves on connecting and consulting with patients. Together, these independent
 9   pharmacies represent a $76 billion health care marketplace and employ more than 250,000
10   individuals on a full- or part-time basis. NCPA advocates on behalf of community
11   pharmacists on public policy issues that directly affect their patients—including those in
12   Washington State.
13           11.     Plaintiff, Washington State Pharmacy Association (“WSPA”), represents
14   pharmacists, technicians, and interns practicing within community pharmacies, as well as
15   clinics, nursing homes, and hospitals. WSPA is headquartered in Renton, Washington, and
16   many of its members participate in Washington’s Medicaid program and provide care to
17   Medicaid patients throughout Washington’s urban, rural, and underserved communities.
18           12.     Defendant Xavier Becerra is the Secretary of the United States Department of
19   Health and Human Services, which is headquartered in Washington, D.C.
20           13.     Defendant Elizabeth Richter is the Acting Administrator for the Centers for
21   Medicare & Medicaid Services, which is headquartered in Woodlawn, Maryland.
22                           III.    JURISDICTION AND VENUE
23           14.     This Court has federal question jurisdiction under 28 U.S.C. § 1331.
24           15.     Plaintiffs’ claims are pursuant to the Administrative Procedure Act (“APA”)
25   as codified at 5 U.S.C. § 701 et seq. Defendants have failed to comply with, among other
26   things, Section 1902(a)(30)(A) of the Social Security Act (“the Act” or “SSA”) (42 U.S.C. §
                                                                          SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 4                                        Attorneys at Law
                                                                                     1420 5th Avenue, Suite 3400
                                                                                       Seattle, WA 98101-4010
                                                                                      Telephone: 206-622-1711
            Case 2:21-cv-00576-RSM Document 1 Filed 04/29/21 Page 5 of 17



 1   1396a(a)(30)(A)), and with Federal regulations at 42 C.F.R. §§ 447.502, 447.512, 447.514,
 2   and 447.518.
 3           16.      Plaintiffs are three non-profit associations whose members include many
 4   Washington pharmacies participating in the Medicaid program. Collectively, Plaintiffs
 5   represent those pharmacies most affected by CMS’s final administrative decision approving
 6   the SPA. Plaintiffs bring this action to seek judicial review of the Defendants’ final
 7   administrative decision and request that the decision be reversed as unlawful and arbitrary
 8   and capricious and sent back to the agency for further action per the Court’s Order.
 9           17.      Venue in this judicial district is appropriate under 28 U.S.C. § 1391. Plaintiffs
10   each “reside” in this judicial district for the purposes of 28 U.S.C. § 1391 as each association
11   has substantial membership operations in Washington and no real property interests are at
12   stake in this action. The Washington State Pharmacy Association’s offices are located within
13   this judicial district. Moreover, a substantial part of the events or omissions giving rise to this
14   claim occurred within this judicial district. The State of Washington’s Medicaid State Plan
15   Amendment was submitted by the State Medicaid agency within this district and the
16   applicable reimbursement rates in question are paid to pharmacies within this judicial
17   district. Lastly, the Defendants’ agencies, the U.S. Department of Health of Human Services
18   and Centers for Medicare and Medicaid Services both maintain offices and operations within
19   this judicial district.
20                             IV.    FACTUAL ALLEGATIONS
21           A.       Plaintiffs’ standing and right to seek judicial review
22           18.      Plaintiffs have multiple members who are suffering actual and cognizable
23   injury as a result of the Secretary’s final administrative decision approving the State’s SPA.
24   These pharmacies have and will continue to be reimbursed at a rate that is unlawfully too low
25   because it fails to consider or account for the actual costs associated with filling the
26   prescriptions for Medicaid beneficiaries as required by law.
                                                                             SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 5                                           Attorneys at Law
                                                                                 1420 5th Avenue, Suite 3400
                                                                                   Seattle, WA 98101-4010
                                                                                  Telephone: 206-622-1711
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 1           19.     Further, Plaintiffs’ individual members would otherwise have standing to sue
 2   in their own right, the interests Plaintiffs seek to protect are germane to each of the
 3   associations’ purpose, and neither the APA claim and single declaratory claim asserted nor
 4   the relief requested requires the participation of individual members in the lawsuit.
 5           B.      Federal Medicaid Law
 6           20.     Title XIX of the Social Security Act, 42 U.S.C. § 1396 et seq., establishing
 7   the Medicaid program, authorizes federal financial support to states for medical assistance to
 8   low-income persons who are aged, blind, disabled, or members of families with dependent
 9   children. The Medicaid program is jointly financed by the federal and state governments, and
10   administered by the states. The states, in accordance with federal law, decide eligible
11   beneficiary groups, types and ranges of services, payment levels for services, and
12   administrative and operative procedures. Payment for services is made directly by states to
13   the individuals or entities that furnish the services. See 42 C.F.R. § 430.0.
14           21.     In order to receive matching federal financial participation, states must agree
15   to comply with the applicable federal Medicaid law and regulations. See 42 U.S.C. § 1396 et
16   seq.
17           22.     Federal law requires each state’s Medicaid program to be administered by a
18   single state agency, which is charged with the responsibility of establishing and
19   implementing a State Medicaid Plan (the “State Plan”) that complies with the provisions of
20   applicable federal Medicaid law. See 42 U.S.C. § 1396a(a)(5); 42 C.F.R. § 431.10. Each
21   State Plan must provide for the provision of certain services, including payment for covered
22   outpatient drugs (which are mandatory services that each state that participates in the
23   Medicaid program is required to provide). See 42 U.S.C. § 1396r-8.
24           23.     Pursuant to 42 U.S.C. § 1396a(a)(30)(A) (“Section 30”), each State Plan
25   must: “assure that payments are consistent with efficiency, economy, and quality of care and
26   are sufficient to enlist enough providers so that care and services are available under the plan
                                                                             SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 6                                           Attorneys at Law
                                                                                       1420 5th Avenue, Suite 3400
                                                                                         Seattle, WA 98101-4010
                                                                                        Telephone: 206-622-1711
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 1   at least to the extent that such care and services are available to the general population in the
 2   geographic area[.]”
 3           24.     Each state must submit their State Plan to CMS for approval. See 42 U.S.C. §
 4   1396a(a); 42 C.F.R. § 430.10. Any amendment to a State Plan must also be submitted to
 5   CMS for approval. 42 C.F.R. § 430.12(c).
 6           25.     The Secretary of HHS, of which CMS is a part, must evaluate each state’s
 7   compliance with the Medicaid statute. 42 U.S.C. §§ 1316(a)–(b), 1396a(b).
 8           C.      CMS changes how pharmacies are to be reimbursed
 9           26.     In February 2016, CMS promulgated a new regulation that fundamentally
10   changed the methodology of how state Medicaid agencies reimburse pharmacies
11   participating in the Medicaid program. See 81 Fed. Reg. 5170 (2016) (“CMS Rule”).
12           27.     The CMS Rule requires states to adopt reimbursement rates that cover the
13   actual costs incurred by pharmacies participating in Medicaid, by reflecting those costs in
14   two distinct components: (1) the ingredient costs and (2) the professional dispensing fees
15   (dispensing fees). 42 C.F.R. §§ 447.502, 447.512(b), 447.514(b)(1), 447.518(a)(2).
16           28.     Further, when proposing changes to either the ingredient costs and dispensing
17   fees reimbursement rates, states “must consider both the ingredient cost reimbursement and
18   the professional dispensing fee reimbursement when proposing such changes to ensure that
19   total reimbursement to the pharmacy provider is in accordance with requirements of Section
20   1902(a)(30)(A) of the [Social Security] Act.” 42 C.F.R. § 447.518(d) (emphasis added).
21           29.     The purpose of the CMS Rule is to provide more fair and accurate
22   reimbursements and to do so by moving away from basing ingredient costs on estimated
23   costs to basing them on “Actual Acquisition Cost,” also known as “ACC.” 42 C.F.R. §
24   447.502, 447.512(b), 447.518(a) (2).
25           30.     The CMS Rule defines ACC as the “actual prices paid to acquire drug
26   products marketed or sold by specific manufacturers.” 42 C.F.R. § 447.502.
                                                                        SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 7                                      Attorneys at Law
                                                                                   1420 5th Avenue, Suite 3400
                                                                                     Seattle, WA 98101-4010
                                                                                    Telephone: 206-622-1711
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 1           31.    Similarly, the CMS Rule defines “professional dispensing fees” as requiring
 2   that reimbursements adequately cover a list of specified “pharmacy costs” associated with
 3   operating pharmacies. See id. (definition of “professional dispensing fees” at subparagraph
 4   (2)).
 5           32.    In particular, the CMS Rule defines dispensing fees as those “incurred at the
 6   point of sale or service and pays for costs in excess of the ingredient cost of a covered
 7   outpatient drug each time a covered outpatient drug is dispensed” and “[i]ncludes only
 8   pharmacy costs associated with ensuring that possession of the appropriate covered
 9   outpatient drug is transferred to a Medicaid beneficiary.” Id. Each state must submit proof
10   that dispensing fees reimbursement rates cover those costs. Id. at § 447.518(b).
11           33.    Additionally, states must also “provide adequate data such as a State or
12   national survey of retail pharmacy providers or other reliable data other than a survey to
13   support any proposed changes to … the components of the reimbursement methodology.” 42
14   C.F.R. § 447.518(d) (emphasis added).
15           34.    Finally, states “must submit to CMS the proposed change in reimbursement
16   and the supporting data through a State plan amendment through the formal review process.”
17   Id.
18           D.     Washington submits its State Plan Amendment without meeting
                    the requirements of the CMS Rule or federal law.
19
             35.    In response to the new CMS Rule, in May 2016, the State engaged in a
20
     rulemaking that did not properly consider both the ingredient costs and the professional
21
     dispensing fees for Washington pharmacies serving Medicaid beneficiaries.
22
             36.    The State’s rulemaking did adjust the ingredient costs methodology. But
23
     modifying the ingredient costs was just one part of the equation. The CMS Rule also requires
24
     that states “evaluate each component when they propose changes[,]” which includes the
25
     dispensing fee. 42 C.F.R. §§ 447.502, 447.512(b), 447.514(b)(1), 447.518(a)(2).
26
                                                                            SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 8                                          Attorneys at Law
                                                                                1420 5th Avenue, Suite 3400
                                                                                  Seattle, WA 98101-4010
                                                                                 Telephone: 206-622-1711
           Case 2:21-cv-00576-RSM Document 1 Filed 04/29/21 Page 9 of 17



 1          37.     The State failed to “evaluate [its] proposed changes in accordance with [the]
 2   final [CMS] rule, and . . . [to] consider the impacts of both the ingredient cost reimbursement
 3   and the professional dispensing fee reimbursement when proposing such changes…” as
 4   legally required. 42 C.F.R. § 447.518(d) (emphasis added).
 5          38.     On March 2, 2017, the State announced that the dispensing fees for all
 6   Washington pharmacies across the state would remain flat at their 2009 levels, which ranged
 7   from $4.24 to $5.25 per prescription depending on the volume at a particular pharmacy.
 8          39.     The State’s only justification for leaving the rates from 2009 unchanged was
 9   that they were still two to four times higher than what private insurers pay.
10          40.     After adopting its rule, the State prepared a “Concise Explanatory Statement”
11   summarizing the rule, as well as its response to any comments received. But nothing in its
12   statement discussed the cost-based data or assessments used in calculating the adequacy or
13   amount of professional dispensing fees.
14          41.     The State’s rule became effective on April 1, 2017. Thereafter, the State
15   submitted its SPA to CMS for consideration.
16          E.      ECMS questions the validity of the State’s decision to leave its
                    dispensing fees unchanged
17
            42.     Beginning in June 2017, CMS, the federal agency that must ultimately
18
     approve the State’s proposed reimbursement rates, questioned the validity of the State’s
19
     decision to leave its dispensing fees unchanged, asking the State to submit either a recent
20
     Washington state survey of pharmacy providers’ actual cost of dispensing or data from
21
     neighboring states’ recent cost of dispensing studies to support the proposed rates.
22
            43.     CMS’s concern was based, in part, on Washington’s status as an outlier on
23
     reimbursement rates. As compared to its neighboring states, Washington has the lowest
24
     reimbursement rate by far:
25

26
                                                                           SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 9                                         Attorneys at Law
                                                                               1420 5th Avenue, Suite 3400
                                                                                 Seattle, WA 98101-4010
                                                                                Telephone: 206-622-1711
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 1
                     Current Medicaid Dispensing Fees for Neighboring States
 2
          $16.00
 3
          $14.00
 4

 5        $12.00

 6        $10.00

 7
           $8.00
 8
           $6.00
 9
           $4.00
10

11         $2.00

12         $0.00
                       Montana                 Idaho                Oregon                Washington
13
                                 Dispensing Fee - $Low      Dispensing Fee - $High
14

15             44.    Beyond its regional neighbors, Washington’s dispensing fee is also dead last
16   in the nation—and by a significant amount.
17             45.    The table below demonstrates that Washington’s dispensing fee is
18   significantly lower than all other approved state dispensing fees. 2
19

20

21

22

23

24   2
       Some states, like Washington, have a “low” and “high” dispensing fee that depends on the volume
25   of prescriptions filled. In general, pharmacies dispensing lower volumes of prescriptions are typically
     reimbursed at the higher fee, while pharmacies dispensing higher volumes of prescriptions are
26   reimbursed at the lower fee.
                                                                                 SCHWABE, WILLIAMSON & WYATT, P.C.
         COMPLAINT: CASE NO. 2:21-cv-00576 - 10                                           Attorneys at Law
                                                                                     1420 5th Avenue, Suite 3400
                                                                                       Seattle, WA 98101-4010
                                                                                      Telephone: 206-622-1711
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 1
                        National Medicaid Dispensing Fee Rates
 2    $0.00    $2.00   $4.00   $6.00   $8.00   $10.00   $12.00   $14.00     $16.00       $18.00
     AK
 3
     AR
 4
     CA
 5
     CT
 6   DE

 7   GA

 8   IA

     IL
 9
     KS
10
     LA
11
     MD
12   MI

13   MO

     MT
14
     ND
15
     NH
16
     NM
17   NY

18   OK

19   PA

     SC
20
     TN
21
     VA
22
     WA
23   WV

24
                                         Low   High
25

26
                                                                  SCHWABE, WILLIAMSON & WYATT, P.C.
     COMPLAINT: CASE NO. 2:21-cv-00576 - 11                                Attorneys at Law
                                                                      1420 5th Avenue, Suite 3400
                                                                        Seattle, WA 98101-4010
                                                                       Telephone: 206-622-1711
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 1             46.   When pressed by CMS, the State conceded that it has no such cost-based
 2   survey or data from its own state or from neighboring states that would support its proposed
 3   rates.
 4             47.   CMS asked for additional support that centered upon the actual cost to fill
 5   prescriptions beyond the previously submitted fee based studies to justify the State’s
 6   proposed dispensing fee reimbursement rate.
 7             48.   The State declined to provide the requested material and merely reiterated that
 8   it was relying upon fee based studies of what private insurers pay, arguing that the
 9   “aggregate ingredient cost and dispensing fee rates are sufficient to ensure that . . . providers
10   are adequately reimbursed in accordance with the requirements of § 1902(a)(30)(A) of the
11   Social Security Act.”
12             49.   On September 10, 2018, CMS disapproved Washington SPA 17-0002. CMS’s
13   Letter from Tim Hill, Acting Director, is attached hereto, and incorporated herein, as Exhibit
14   A.
15             50.   In its disapproval letter, CMS noted that the regulation at 42 C.F.R. §
16   447.518(d) dictates that when a state proposes changes to either the ingredient or dispensing
17   reimbursement to pharmacies, it must consider both costs to ensure that “total reimbursement
18   to the pharmacy provider is in accordance with section § 1902(a)(30)(A) of the Act.” See id.
19             51.   CMS also quoted the final CMS Rule, which requires that “states must
20   provide information supporting any proposed change to either the ingredient cost or
21   dispensing fee reimbursement which demonstrates that the change reflects actual costs and
22   does not negatively impact access.” Id. The letter confirmed that the denial decision was
23   made “after consultation with the Secretary.” Id.
24

25

26
                                                                             SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 12                                          Attorneys at Law
                                                                                 1420 5th Avenue, Suite 3400
                                                                                   Seattle, WA 98101-4010
                                                                                  Telephone: 206-622-1711
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 1          F.      The State files a request for reconsideration and the SPA denial is
                    upheld following an administrative hearing
 2
            52.     On November 5, 2018, the State filed a request for reconsideration with CMS.
 3
            53.     Through a letter dated December 3, 2018 (published in the Federal Register at
 4
     83 Fed. Reg. 62869 (Dec. 6, 2018)), the CMS Administrator scheduled a subject hearing in
 5
     response to the State’s request for reconsideration.
 6
            54.     A hearing was held on June 18, 2019, and on July 31, 2019, a CMS ALJ
 7
     issued a 16-page, well-reasoned decision that recommended that CMS’s SPA denial be
 8
     upheld. A true and correct copy of the ALJ’s decision is attached hereto, and incorporated
 9
     herein, as Exhibit B.
10
            55.     The ALJ decision, in essence, found that the State had failed to support its
11
     decision to keep dispensing fee rates unchanged and below cost because it failed to conduct a
12
     cost of dispensing survey or otherwise provide any relevant, reliable, or adequate data
13
     reflecting the actual cost of dispensing for pharmacies serving Medicaid beneficiaries. See id.
14
            56.     The ALJ further recognized that the administrative record contained evidence
15
     that “Washington’s rates were less than one-half the rates being paid in neighboring states”
16
     and that the State “did not provide adequate data to support that its 8-year old rates supported
17
     the current costs to dispense prescriptions.” Id. at 10.
18
            57.     Under the law, the ALJ recommendation then went to the CMS Administrator
19
     to render a final administrative decision on the SPA’s approval or denial.
20
            G.      The Principal Deputy Administrator of CMS enters a one-page
21                  ruling “approving” the State’s SPA.
22          58.     Despite the ALJ’s well-reasoned decision and contrary to years of CMS’s

23   prior communications that the SPA did not meet federal law, on January 19, 2021, the

24   “Principal Deputy Administrator” of CMS entered a one-page final administrative decision

25   that “approved” the State’s SPA (the “CMS Ruling”). A true and correct copy of the CMS

26   final administrative decision is attached hereto, and incorporated herein, as Exhibit C.
                                                                           SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 13                                        Attorneys at Law
                                                                               1420 5th Avenue, Suite 3400
                                                                                 Seattle, WA 98101-4010
                                                                                Telephone: 206-622-1711
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 1           59.     The final administrative decision contained no legal analysis other than stating
 2   that the text of the CMS Rule did not foreclose the State from using its “market-based”
 3   approach in setting rates. See id.
 4           60.     The final administrative decision was issued on January 19, 2020—less than
 5   24 hours before Inauguration Day—and, on information and belief, constituted one of the
 6   last official acts of the outgoing CMS Administrator before resigning.
 7                                        V.      COUNT I
 8                 ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. §§ 701-706
 9           61.     Plaintiffs hereby incorporate by reference the prior paragraphs of this
10   Complaint, as though fully set forth herein.
11           62.     Under the federal APA, 5 U.S.C. §§ 701-706, courts “shall” overturn agency
12   action that is arbitrary, capricious, an abuse of discretion, or not otherwise in accordance
13   with the law. 5 U.S.C. § 706. Courts shall also overturn agency action that is “in excess of
14   statutory jurisdiction, authority, or limitations, or short of statutory right.” Id.
15           63.     Plaintiffs have suffered a legal wrong because of the Secretary’s wrongful
16   approval of the SPA and have been adversely affected. Plaintiffs are entitled to judicial
17   review pursuant to 5 U.S.C. § 702.
18           64.     The Secretary’s final administrative decision approving SPA 17-0002 is the
19   act of an administrative agency and subject to review under the APA.
20           65.     The Secretary’s approval of the SPA insofar as it pertains to the adequacy or
21   amount of cost-based professional dispensing fee reimbursement rates is invalid under the
22   APA because it is arbitrary, capricious, and an abuse of discretion, and otherwise
23   inconsistent with governing law, because the data before the Secretary did not address the
24   CMS Rule’s own required elements for a cost-based professional dispensing fee.
25           66.     The Secretary blindly approved the SPA without considering the appropriate
26   underlying data (or lack thereof) in the administrative record that would have been necessary
                                                                           SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 14                                        Attorneys at Law
                                                                                     1420 5th Avenue, Suite 3400
                                                                                       Seattle, WA 98101-4010
                                                                                      Telephone: 206-622-1711
          Case 2:21-cv-00576-RSM Document 1 Filed 04/29/21 Page 15 of 17



 1   to confirm that Washington’s SPA complied with CMS’s own statutes and regulations for a
 2   cost-based professional dispensing fee. The State never submitted either a recent Washington
 3   state survey of pharmacy providers’ actual cost of dispensing to Medicaid patients or data
 4   from neighboring states’ recent cost of dispensing studies to support the proposed rates, as
 5   requested by CMS.
 6          67.     There also was no analysis of whether the rates are consistent with efficiency,
 7   economy and quality of care, and there was no analysis of whether the rates are reasonably
 8   related to the costs incurred by efficient economical providers. Moreover, the Secretary did
 9   not consider the level of service to Washington Medicaid patients relative to the general
10   public (i.e., non-Medicaid patients), as required by federal law. The Secretary failed to
11   consider those important aspects of Section 30(A).
12          68.     Further, the Secretary’s decision was so conclusory, and lacking in any
13   appropriate legal analysis, that it completely ignored the underlying CMS Rule and violated
14   the agency’s own law.
15          69.     Finally, the Secretary’s decision was directly contrary to years of CMS’s prior
16   communications, positions, and policies that the SPA did not meet federal law, as well as the
17   ALJ’s well-reasoned decision that recommended the SPA be denied.
18                                     VI.     COUNT II
19                                   DECLARATORY RELIEF
20          70.     Plaintiffs hereby incorporate by reference the prior paragraphs of this
21   Complaint, as though fully set forth herein.
22          71.     An actual and justiciable controversy exists between Plaintiffs and the
23   Secretary regarding whether SPA 17-0002, which lowered ingredient costs while keeping
24   dispensing fees unchanged without considering the costs of dispensing, complied with the
25   requirements of the Federal Medicaid Act and the CMS Rule. Plaintiffs contend that it does
26
                                                                           SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 15                                        Attorneys at Law
                                                                               1420 5th Avenue, Suite 3400
                                                                                 Seattle, WA 98101-4010
                                                                                Telephone: 206-622-1711
          Case 2:21-cv-00576-RSM Document 1 Filed 04/29/21 Page 16 of 17



 1   not comply with the law and, accordingly, that the Secretary’s approval of the SPA was
 2   arbitrary, capricious, an abuse of discretion, and not in accordance with applicable law.
 3          72.     Plaintiffs request that this Court declare the SPA as it relates to dispensing
 4   fees invalid, unlawful, and otherwise contrary to federal law pursuant to 28 U.S.C. § 2201.
 5          73.     No administrative appeal process or other administrative remedy is available
 6   to Plaintiffs to challenge the dispensing fees reimbursement rates in the SPA or the
 7   Secretary’s approval of the SPA.
 8                             VII.     PRAYER FOR RELIEF
 9          WHEREFORE, Plaintiffs pray for judgment as follows:
10          1.      For an Order declaring that it was arbitrary, capricious, an abuse of discretion,
11   and not in accordance with applicable law for the Secretary to approve the SPA, which left
12   the dispensing fee reimbursement rates unchanged since 2009;
13          2.      For an Order setting aside the Secretary's final administrative decision
14   approving SPA 17-0002 and remanding the matter to CMS and directing the agency to adopt
15   the ALJ’s recommendation to uphold the denial of the SPA; or, in the alternative, to review
16   the administrative record and applicable law for reconsideration of a final determination on
17   the SPA consistent with federal law and the Court’s Order;
18          3.      For a Declaration that the Secretary’s approval of SPA 17-0002 was contrary
19   to law and violated the APA and the Medicaid Act;
20          4.      For an award of the costs of suit to Plaintiffs, including reasonable attorney
21   fees, as permitted under 42 U.S.C. § 1988 or otherwise, and
22          5.      Such other and further relief the Court deems just and proper.
23          //
24          //
25          //
26       //
                                                                            SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 16                                         Attorneys at Law
                                                                                1420 5th Avenue, Suite 3400
                                                                                  Seattle, WA 98101-4010
                                                                                 Telephone: 206-622-1711
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 1            Dated this 29th day of April, 2021.
 2                                                  SCHWABE, WILLIAMSON & WYATT, P.C.
 3

 4                                                  By:   s/ Christopher H. Howard
                                                          s/ Molly J. Henry
 5                                                        Christopher H. Howard, WSBA #11074
                                                          Email: choward@schwabe.com
 6                                                        Molly J. Henry, WSBA #40818
                                                          Email: mhenry@schwabe.com
 7                                                        1420 5th Avenue, Suite 3400
                                                          Seattle, WA 98101-4010
 8                                                        Attorneys for Plaintiffs
 9
                                                    QUARLES & BRADY LLP
10

11
                                                    By:
12                                                        Edward D. Rickert (IL Atty #6198586)*
                                                          Mark W. Bina (IL Bar # 6288024)*
13                                                        Adam R. Prinsen (WI Atty #1090448)*
                                                          QUARLES & BRADY LLP
14                                                        300 N. LaSalle Street, Suite 4000
                                                          Chicago, IL 60654
15                                                        Edward.Rickert@Quarles.com
                                                          Mark.Bina@Quarles.com
16                                                        Adam.Prinsen@Quarles.com
                                                          Attorneys for Plaintiffs
17
                                                          *Pro Hac Vice petitions forthcoming
18   PDX\30757568.1.docx

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                                                                         SCHWABE, WILLIAMSON & WYATT, P.C.
      COMPLAINT: CASE NO. 2:21-cv-00576 - 17                                      Attorneys at Law
                                                                             1420 5th Avenue, Suite 3400
                                                                               Seattle, WA 98101-4010
                                                                              Telephone: 206-622-1711
